Case 08-13141-BLS   Doc 7803-4   Filed 02/04/11   Page 1 of 9




                      Exhibit D
                          Case 08-13141-BLS          Doc 7803-4       Filed 02/04/11     Page 2 of 9




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE
                ------------------------------ x
                                                :
               In re:                           : Chapter 11
                                                :
               TRIBUNE COMPANY et al.,          : Case No. 08-13141 (KJC)
                                                :
                                 Debtors.       : (Jointly Administered)
                                                :
                                                : Re: Docket Nos. 7522, 7561
                ------------------------------ x

                     ORDER APPROVING STIPULATION CONCERNING LAW DEBENTURE’S
                          MOTION (D.I. 7522) TO COMPEL OAKTREE TO PRODUCE
                          DOCUMENTS PURSUANT TO BANKRUPTCY RULES 9014
                          AND 7037 AND FEDERAL RULE OF CIVIL PROCEDURE 37

                              Upon review and consideration of the Stipulation Concerning Law Debenture’s

               Motion (D.I. 7522) to Compel Oaktree to Produce Documents Pursuant to Bankruptcy Rules

               9014 and 7037 and Federal Rule of Civil Procedure 37 (the “Oaktree Stipulation”), attached

               hereto as Exhibit 1, and sufficient cause appearing therefore, it is hereby ORDERED,

               ADJUDGED AND DECREED as follows:

                              1.      The Oaktree Stipulation is hereby APPROVED.

                              1.      The parties to the Oaktree Stipulation are hereby authorized to take any

               and all actions reasonably necessary to effectuate the terms of the Oaktree Stipulation.

                              2.      This Court shall retain jurisdiction over any and all matters arising from or

               related to the implementation or interpretation of the Oaktree Stipulation or this Order



               Dated: February _____, 2011           ____________________________________________
                      Wilmington, Delaware           UNITED STATES BANKRUPTCY JUDGE




2202441v1
2/4/2011 9:56 PM
Case 08-13141-BLS   Doc 7803-4   Filed 02/04/11   Page 3 of 9




                      Exhibit 1
               Case 08-13141-BLS        Doc 7803-4       Filed 02/04/11        Page 4 of 9




                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

TRIBUNE COMPANY, et al.,                                     Cases No. 08-13141 (KJC)
                                        Debtors.
                                                             Jointly Administered



   STIPULATION CONCERNING LAW DEBENTURE’S MOTION (D.I. 7522) TO
 COMPEL OAKTREE TO PRODUCE DOCUMENTS PURSUANT TO BANKRUPTCY
    RULES 9014 AND 7037 AND FEDERAL RULE OF CIVIL PROCEDURE 37


          WHEREAS Law Debenture Company of New York (“Law Debenture”) filed a motion

(D.I. 7522) to compel Oaktree Capital Management, L.P. (“Oaktree”) to produce certain FCC-

Related Documents (the “Motion”);


          WHEREAS Oaktree has objected to the Motion;


          WHEREAS the parties have negotiated a settlement that fully resolves the Motion on the

terms and conditions set forth in this Stipulation and [Proposed] Order;


          IT IS NOW HEREBY STIPULATED AND AGREED:

          Subject to the following paragraphs of this Stipulation, Oaktree will produce the

following documents to Law Debenture relating to FCC matters (“FCC Discovery”):


          1.     With respect to the entities set forth on Exhibit A hereto,


                 (a)     a statement indicating whether Oaktree1 owns a 5% or greater Equity

                         Interest2 or more than a 33% Debt Interest,3 and, with respect to any 5% or

     1
         For the purposes of paragraph 1, “Oaktree” means Oaktree or any affiliate of Oaktree.

                                                   4
              Case 08-13141-BLS         Doc 7803-4     Filed 02/04/11      Page 5 of 9




                        greater Equity Interest, whether such interest is between 5% and 25%,

                        exceeds 25% but is not more than 50%, or exceeds 50%; and


                (b)     for any such entity in which Oaktree holds such an interest, the Certificate

                        of Incorporation, Bylaws, Stockholders Agreement, Limited Liability

                        Company Agreement, Partnership Agreement, or similar documents, to

                        the extent the same (x) are within Oaktree’s possession, (y) are not

                        restricted from disclosure (including by any applicable confidentiality

                        provisions or agreements), and (z) show:


                        (i)    the governance structure of such entity and any governance or

                               management authority or rights of Oaktree, including director

                               designation or nomination rights; or


                        (ii)   the Equity Interest or Debt Interest held or managed by Oaktree.


         2.     Documents relating to steps taken by Oaktree to render its interest in Liberman

                Broadcasting Inc. non-attributable under the FCC’s rules, or confirmation that no

                such documents exist.


         3.     Provision of the information set forth herein will resolve Law Debenture’s Motion

                to Compel [D.I. 7512], which Law Debenture shall promptly withdraw with

                prejudice. Any documents and information that Oaktree may produce in


    2
      “Equity Interest” means any current direct or indirect ownership interest, excluding any
contingent or future interest such as an option or warrant.
    3
        “Debt Interest” means any debt.

                                                  5
     Case 08-13141-BLS        Doc 7803-4      Filed 02/04/11      Page 6 of 9




       connection with this resolution are subject to the protections of the Depository

       Order [D.I. 2858]; as provided by the Depository Order and Acknowledgement

       thereto, Law Debenture agrees to use the documents “solely in connection with

       the Cases.” (Acknowledgement, ¶ 3.) Pursuant to the Depository Order and

       Acknowledgement, certain documents produced by Oaktree will be designated

       “Financial Institution Highly Confidential,” “Highly Confidential – Attorneys’

       Eyes Only,” or “Confidential.” Law Debenture reserves its rights pursuant to the

       Depository Order and Acknowledgement to challenge such designations, but will

       abide by the terms of the Depository Order and Acknowledgment applicable to

       such documents and, absent further order of the Court, will not use such

       documents in a bankruptcy or other court filing unless filed under seal.

       (Acknowledgment, ¶ 7) In addition, absent further order of the Court, Law

       Debenture agrees not to raise, utilize, provide or discuss any such documents (as

       identified in the preceding sentence), or facts learned therein, with the FCC,

       except to the extent such documents or facts are otherwise publicly available

       (other than by means of a violation of this Stipulation and Order). Oaktree

       reserves all of its rights as set forth in Oaktree’s Objections and Responses to Law

       Debenture’s Second Request for the Production of Documents.


4.     The statements provided pursuant to this Stipulation shall be based on Oaktree’s

       knowledge, information, and belief, formed after a reasonable, good faith inquiry.

       Oaktree will use its reasonable best efforts to produce the foregoing documents on

       a rolling basis by February 11, 2110, and will in any event comply with its




                                         6
            Case 08-13141-BLS       Doc 7803-4       Filed 02/04/11     Page 7 of 9




              obligation under the Case Management Order to complete production within 15

              days of this Order.


       5.     To the extent that Law Debenture wishes to submit a report on behalf of an FCC

              expert, such report shall be due on February 14, 2011 by 1 p.m. EST. To the

              extent that Oaktree or any other proponent of the Debtor/Committee/Lender Plan

              wishes to submit a rebuttal report on behalf of an FCC expert, such report shall be

              due on February 25, 2011.



Dated: February 4, 2011                   BIFFERATO GENTILOTTI LLC
       Wilmington, DE
                                          /s/ Garvan F. McDaniel_______
                                          Garvan F. McDaniel (No.4167)
                                          800 N. King Street, Plaza Level
                                          Wilmington, Delaware 19801
                                          (302) 429-1900

                                          -and-

                                          KASOWITZ, BENSON, TORRES &
                                          FRIEDMAN LLP
                                          Sheron Korpus
                                          Christine A. Montenegro
                                          1633 Broadway
                                          New York, New York 10019
                                          (212) 506-1700


                                          Attorneys for Law Debenture Trust Company
                                          of New York




                                               7
          Case 08-13141-BLS   Doc 7803-4    Filed 02/04/11    Page 8 of 9




Dated: February 4, 2011           YOUNG CONAWAY STARGATT &
       Wilmington, DE             TAYLOR, LLP

                                  /s/ M. Blake Cleary________________
                                  M. Blake Cleary (No. 3614)
                                  The Brandywine Building – 17th Floor
                                  1000 West Street
                                  Wilmington, DE 19801
                                  (302) 571-6600

                                  -and-

                                  HENNIGAN, BENNETT & DORMAN LLP

                                  /s/Joshua Mester
                                  James O. Johnston
                                  Joshua Mester
                                  865 South Figueroa Street, Suite 2900
                                  Los Angeles, CA 90017
                                  (213) 694-1200


                                  - and -

                                  AKIN GUMP STRAUSS HAUER AND
                                  FELD LLP
                                  Tom W. Davidson, Esq.
                                  1333 New Hampshire Avenue, NW
                                  Washington, DC 20036

                                  Attorneys for Oaktree Capital Management
                                  L.P.




                                       8
       Case 08-13141-BLS        Doc 7803-4   Filed 02/04/11   Page 9 of 9




                                     Exhibit A

Affiliated Media Inc.
Sun-Times Media Holdings LLC
ASP Westward, L.P.
Seattle Times Company
Swift Newspapers Inc.
Halifax Media Acquisition Inc.
American Consolidated Media, L.P.
GateHouse Media Inc
Fisher Communications Inc.
Black Crow Media Group
Newsweb Corporation
Cherry Creek Radio LLC
Citadel Broadcasting
Grupo Radio Centro
Entravision Communications Corp
Freedom Communications
ION Media Networks Inc.
Inner City Broadcasting Corporation
Journal Register company
Lazer Broadcasting Corporation
Max Media LLC
Morris Communications Company
Midwest Communications Incorporated
Millennium Radio Group LLC
Nassau Broadcasting
NextMedia Group Inc.
NRG Media LLC
Philadelphia Media Network, Inc.
[Philadelphia Inquirer]
Radio One Inc.
Saga Communications Inc
Salem Communications Corporation
Sinclair Broadcast Group Inc.
Spanish Broadcasting Systems
TTBG LLC [former Pappas stations]
Broadcasting Media Partners [Univision]
Vox Media
WRNN-TV
ZGS Communications
